23-03004-cgb Doc#29 Filed 01/17/24 Entered 01/17/24 13:58:00 Main Document Pg 1 of 3




                           UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

  IN RE:                                           §                  Case No. 21-30107-CGB
  PDG PRESTIGE, INC.                               §
        Debtor                                     §                           Chapter 7

  LEGALIST DIP GP, LLC,                            §                  Adv. No. 23-03004
       Plaintiff                                   §
  v.                                               §
  PDG PRESTIGE, INC., and MICHAEL                  §
  DIXSON, INDIVIDUALLY                             §
       Defendants                                  §


                        MOTION TO REALIGN PDG PRESTIGE, INC.
                                AS PARTY PLAINTIFF

         This pleading requests relief that may be adverse to your interests.

         If no timely response is filed within 14 days from the date of service, the relief
         requested herein may be granted without a hearing being held.

         A timely response is necessary for a hearing to be held.


  TO THE HONORABLE CHRISTOPHER BRADLEY, UNITED STATED BANKRUPTCY
  JUDGE:

         Ronald Ingalls, Chapter 7 Trustee for PDG Prestige, Inc., files this Motion to Realign PDG

  Prestige, Inc., as a Party Plaintiff, and would show the Court as follows:

         1.      The movant is Ronald Ingalls, Chapter 7 Trustee for PDG Prestige, Inc., which case

  was filed on February 15, 2021, as a Chapter 11 case, and converted to Chapter 7 on July 13, 2023.

         2.      At the time the original Complaint in this Adversary was filed, PDG was a

  reorganized Chapter 11 Debtor, post-confirmation, and was controlled by Defendant, Michael

  Dixson.

         3.      Some of the allegations raised in the Complaint are actions against Dixson that the
23-03004-cgb Doc#29 Filed 01/17/24 Entered 01/17/24 13:58:00 Main Document Pg 2 of 3




  Trustee believes are property of the bankruptcy estate (see Order Denying Defendants’ Motion to

  Dismiss, docket #9 in this Adversary). The Trustee therefore believes that PDG should be

  realigned as a Plaintiff in this Adversary.

            4.    PDG will file its Complaint within 14 days of the entry of an order granting this

  Motion.

            5.    The movant has consulted with David Lutz, attorney for Defendant, Michael

  Dixson, who does not oppose this relief. The movant has consulted with Zachary Bluestone and

  Jason Binford, attorneys for the Plaintiff, who do not oppose this relief.

            WHEREFORE PREMISES CONSIDERED, Ronald Ingalls, Chapter 7 Trustee, prays that

  the PDG Prestige, Inc., be aligned as a Plaintiff in this Adversary Proceeding, and for other just

  relief.

                                                       Respectfully submitted,

                                                       /s/ Ronald Ingalls
                                                       Ronald Ingalls
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                                                       ATTORNEY FOR CHAPTER 7 TRUSTEE

                                 CERTIFICATE OF SERVICE
         The signature above certifies that a true and correct copy of the foregoing document has
  been served by email on January 17, 2024, on those listed below:

   David P. Lutz
   Martin & Lutz PC
   PO Drawer 1837
   Las Cruces, NM 88004
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23-03004-cgb Doc#29 Filed 01/17/24 Entered 01/17/24 13:58:00 Main Document Pg 3 of 3




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